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                                        UNITED STATES DISTRICT COURT
12                                     WESTERN DISTRICT OF WASHINGTON
                                                 AT TACOMA
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      JOSE RUIZ, aka JOSE RODRIGUEZ
      FLORES,                                                         NO. C97-5762JET
15                                                                        CR95-5852JET
                         Petitioner,
16         v.
                                                                     ORDER
17    UNITED STATES OF AMERICA,
18                      Respondent.
19

20              THIS MATTER comes on before the above-entitled Court upon Defendant’s Motion for
21   Relief from Judgment under Fed.R.Civ.P. 60(b).
22              Having considered the entirety of the records and file herein, it is hereby
23              ORDERED that Defendant’s Motion for Reconsideration is properly construed as a second
24   or successive §2255 petition. Defendant has not obtained prior authorization from the Ninth Circuit
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 1   Court of Appeals to file a second or successive motion. Accordingly, Defendant’s motion is

 2   DISMISSED for want of jurisdiction.

 3           The clerk of the court is instructed to send uncertified copies of this Order to all

 4   counsel of record.

 5                  DATED this 30th day of September 2005.

 6
                                            /s JACK E. TANNER
 7                                          ______________________________________
                                            JACK E. TANNER
 8                                          SR. UNITED STATES DISTRICT JUDGE

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